                      Case 22-12884-LMI      Doc 41    Filed 06/12/23    Page 1 of 2
                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                                       CASE NO.: 22-12884-BKC-LMI
                                                                    PROCEEDING UNDER CHAPTER 13

INRE:

GABRIEL ALVAREZ

DEBTOR

                     OBJECTION TO CLAIM AND CERTIFICATE OF SERVICE
                             OF COURT GENERATED HEARING

                              IMPORTANT NOTICE TO CREDITORS:
                             THIS IS AN OBJECTION TO YOUR CLAIM

        This objection seeks to either disallow or reduce the amount or change the priority status of the
claim filed by you or on your behalf. Please read this o~jection care/ully to identify which claim is
o~jected to and what disposition ofyour claim is recommended.


      If you disagree with the objection or the recommended treatment, you must file a written
response WITHIN 30 DAYS from the date of service of this objection, explaining why your claim
should be allowed as presently filed, and you muyst serve a copy to the undersigned Trustee OR
YOUR CLAIM MAY BE DISPOSED OF IN ACCORDANCE WITH THE RECOMMENDATION
IN THIS OBJECTION.

       If your entire claim is ojected to and this is a chapter 11 case, you will not have the right to
vote to accept or reject any proposed plan of reorganization until the objection is resolved, unless you
request an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing your claim for voting
purposes.

      The written response must contain the case name, case number, and must be filed with the
Clerk of the United States Bankruptcy Court.

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-l(B)(2), the Trustee objects to the
following claim filed in this case:

Claim#:        9
Claimant:      Yamaha Motor Finance Corp
Reason:        The Proof of Claim was filed after the Claims Bar Date.
Disposition:   Sustain Objection and disallow claim.

        I CERTIFY that a true and correct copy of this Objection to Claim was served upon the parties
listed below on June 12, 2023.



                                                Page 1of2
               Case 22-12884-LMI   Doc 41   Filed 06/12/23              Page 2 of 2 OBJECTION TO CLAIM
                                                                              CASE NO.: 22-12884-BKC-LMI

                                                                   NANCY K. NEIDICH, ESQUIRE
                                                                STANDING CHAPTER 13 TRUSTEE
                                                                               P.O. BOX 279806
                                                                      MIRAMAR, FL 33027-9806

                                                                       ~_,,_.,__......_tA/?N
                                               By: ./...;;;.;s/..___.....             _ _ _ _ _ __
                                                                              GIANNY BLANCO, ESQ.
                                                                            FLORIDA BAR NO: 0078080


COPIES FURNISHED TO:

VIA ELECTRONIC SERVICE
P ATRlCK L. CORDERO, ESQUIRE
7333 CORAL WAY
MIAMI, FL 33155

BY U.S. FIRST CLASS MAIL
YAMAHA MOTOR FINANCE CORP
POBOX2429
CYPRESS, CA 90630

YAMAHA MOTOR FINANCE CORP
C/O CORPORATION SERVICE COMPANY
1201 HAYS STREET
TALLAHASSEE, FL 32301




                                     Page 2of2
